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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
In re

Patricia A Hartwig
                                                          CHAPTER         13
                                                          CASE NO.        6:17-bk-06539-CCJ
      Debtor
______________________________/


      RESPONSE BY WILMINGTON SAVINGS FUND SOCIETY, FSB, D/B/A
   CHRISTIANA TRUST, NOT INDIVIDUALLY BUT AS TRUSTEE FOR PRETIUM
    MORTGAGE ACQUISITION TRUST TO DEBTOR(S)' SECOND MOTION TO
                MODIFY CONFIRMED CHAPTER 13 PLAN
                             (DOC. NO. 60)


        WILMINGTON SAVINGS FUND SOCIETY, FSB, D/B/A CHRISTIANA TRUST,

NOT INDIVIDUALLY BUT AS TRUSTEE FOR PRETIUM MORTGAGE ACQUISITION

TRUST ("Creditor"), responds to the Second Motion to Modify Chapter 13 Plan (Doc. No. 60)

filed by the Debtor1 and states as follows:

        1.      Debtor filed the instant bankruptcy case on October 10, 2017.

        2.     Creditor holds secured Claim # 1-1 with respect to Real Property located at 100 S

CENTER ROAD. SANFORD, FL 32771 (“Property”) which is owned by the Debtor. The Proof

of Claim reflects a total secured claim amount of $222,869.77 and pre-petition arrears in the

amount of $112,707.48. Additionally, the current contractual monthly payment is $1,173.85 as

reflected in the Notice of Mortgage Payment Change filed on October 15, 2018.

        3.     The Debtors’ Confirmed Chapter 13 Plan (Doc. No. 15) proposes Mortgage

Modification Mediation and adequate protection payments to Creditor in the amount of $636.43

for months 1-36 while the results of the Mediation are pending.

        4.     The parties attended Mediation in July, 2018 which resulted in no agreement

being reached as reflected in the Final Mediation Report (Doc. No. 42).



        1
         All references to “Debtor” shall include and refer to both of the Debtors in a case filed
jointly by two individuals.
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       5.      On May 13, 2019, the Debtor filed the Second Motion to Modify which

contained the following provision: “With respect to the final plan payment, the debtor requests a

balloon payment in the amount of $100,000.00 to be paid to the secured creditor no later than 1

July 2020, Rushmore Loan Management Services, to satisfy Claim 1.”

       6.      Creditor objects to the proposed Second Motion to Modify Plan and specifically

the proposed balloon for the arrears. The Motion gives no explanation as to why the Debtor is

again seeking to defer nearly 100% of the arrears toward the final month of the Plan 2. Creditor

submits that the proposed payment structure under the Modified Plan unreasonably delays

payments of the arrears on the Claim and therefore runs afoul of Section 1322(b)(5).

       7.      Additionally, per the terms of the Order Confirming Plan (Doc. No. 35), based on

the denial of a loan modification, the Debtor was required to filed a modified plan within

fourteen (14) days following entry of the final mediator’s report that cures and maintains

according to Creditor’s Proof of Claim. To date, no such modified plan has been filed and

Creditor is still only receiving the 31% adequate protection payments.

       8.      While Section 1322(b)(5) gives the Debtor the right to cure arrears through

a Plan, this Code Section explicitly requires that the arrears be cured within a reasonable amount

of time.

       9.      Courts that have considered the issue have found that the determination of

whether a proposed cure is reasonable is fact specific and must be made on a case by case basis.

In re Hickson, 52 B.R. 11 (Bankr. S.D. Fla. 1985).

       10.     In the Hickson case, the Court looked at several factors to guide the analysis on

whether a proposed cure was reasonable. These factors include the following:

               “1) the amount and reason for the arrearage; (2) the availability of the debtors'

               discretionary income to cure the default; (3) whether the debtors are putting

               forth their best effort to cure the default; (4) the ability of the debtors to meet the


       2
         The Debtor previously filed an Amended Motion to Modify (Doc. No. 52) seeking to
defer $100,000 of arrears. The Debtor’s Motion was denied on April 26, 2019 (Doc. No. 58).
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               obligations of their plan and to continue current payments on their installment

               obligations.” Id at 13 citing to In re Acevedo, 9 B.R. 852 (Bankr. E.D.N.Y. 1981)

       11.     In applying those factors to this particular case, it is clear that the proposed cure is

unreasonable. The default is sizeable at $112,707.48 in pre-petition arrears alone which amounts

to over nine (9) years of missed payments.

       12.     The Debtor has little discretionary income, in which to cure the default, after

accounting for plan payment and allowable expenses. This further proves that it is simply not

possible for the Debtor to propose a confirmable plan which would involve the Debtors retaining

the Property. The purpose of modifying the Plan is to try delay the inevitable and retain the

Property with minimal payments to Creditor until the final month of the Plan.

       13.     With respect to the last factor discussed in the Hickson case, the Debtor will not

be able to perform under this Chapter 13 Plan with respect to either payment of either the

ongoing monthly payments or the curing of the arrears. The Debtor has not provided any

evidence that it will be feasible to make the $112,707.48 balloon payment. It is the Debtor’s

burden to demonstrate feasibility.

       14.     Recently, Judge Isicoff and Judge Mark out of the Southern District of Florida

considered whether to allow a Debtor to provide for arrears through a balloon payment. In an

opinion entered June 29, 2018, the Court held that a balloon payment for a secured mortgage

claim in the final month of a Chapter 13 plan is considered a "periodic payment", and, as such,

violates the requirement under the Bankruptcy Code that periodic payments be in equal monthly

amounts. In re Benedicto, Case No. 15-28671-RAM and In re Del Carmen Gonzalez, Case

No.14-20339-LMI..

       15      For the reasons stated above, the proposed Second Motion to Modify cannot be

confirmed as its terms violate Section 1322(b)(5) and Section 1325(a)(6) of the Code.

       WHEREFORE, Creditor prays for the entry of an appropriate order denying

the Debtor’s Motion to Modify Plan as proposed and any future Plan(s) filed by the Debtor(s) to

the extent that such Plan or Plans contain provisions to which this Response is directed.
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                                                  /s/ Jessica Hicks
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                               CERTIFICATE OF SERVICE
        I HEREBY CERTIFY THAT a true and correct copy of the foregoing was furnished on
June 3, 2019, by U.S. Mail and/or electronic mail via CM/ECF pursuant to Local Rule 1001-2 to:
Patricia A Hartwig, 100 South Center Road , Sanford, FL 32771; Marie S.M. Dickinson 187
Ramblewood Drive, DeBary, FL 32713; Laurie K. Weatherford, Trustee P.O. Box 3450, Winter
Park, FL 32790.



                                                  /s/ Jessica Hicks
                                                  Jessica Hicks (x1465)


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